Case 2:11-cv-12422-AC-MKM ECF No. 129-17, PagelD.2162 Filed 07/28/14 Page 1 of 2

EXHIBIT 16
Retirement & Survivors Beyelits dst bepeataren/Caleutagono, 129-17, PagelD.216Bip PitechGad atu Ray egtbif langevity.cgi

Social SecurityOnline Retirement & Survivors Benefits

Office of the Chief ay
Actuary js: Life Expectancy Calculator

oe}

The following table lists the average number of additional years a
Change Gender/Date Male born on November 29, 1956, can expect to live when he

of Birth reaches a specific age.

Life Expectancy

Home Page Additional Life

Retirement Planner Expectancy Estimated Total

Retirement Estimator At Age (in years) Years

Survivors Planner

Other Things to 57 and 7 25.5 83.1

Consider months®

Apply for Benefits

Onin 62 22.1 84.1
66 and 4 18.8 85.2
months?
70 16.2 86.2

@ Your current age.
© Your normal (or full) retirement age.

Note: The estimates of additional life expectancy:

e do not take into account a wide number of factors such as current
health, lifestyle, and family history that could increase or decrease
life expectancy.

e are based on
o the gender and date of birth you entered (your cohort) and
© information from our cohort life expectancy tables.
(Some of the information can be found in the 2013 Trustees
Report.)

Estimate as of Monday June 30, 2014 10:30:14 EDT.

lof 1 6/30/2014 10:31 AM
